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                     United States Court of Appeals
                                      For the First Circuit
      No. 23-1158
                                             LUIGI WARREN,

                                            Plaintiff - Appellant,

                                                      v.

                            THE CHILDREN'S HOSPITAL CORPORATION,

                                           Defendant - Appellee.


                                                  NOTICE

                                           Issued: August 1, 2023


              This is to advise you, pursuant to Fed. R. App. P. 34(b), that this case will be submitted
      on the briefs without oral argument.

                                                       Maria R. Hamilton, Clerk
      UNITED STATES COURT OF APPEALS
      FOR THE FIRST CIRCUIT
      John Joseph Moakley
      United States Courthouse
      1 Courthouse Way, Suite 2500
      Boston, MA 02210
      Daniel Toomey, Calendar Clerk (617)748-9982


      cc:
      Theodore Joel Folkman
      Luigi Warren
